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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VIRGINIA L. GIUFFRE,

                     Plaintiff,
                                             15 Civ. 7433 (LAP)
-against-

GHISLAINE MAXWELL,

                     Defendant.


LORETTA A. PRESKA, Senior United States District Judge:

    Having considered the parties’ proposals regarding the next

set of docket entries to be reviewed for unsealing (dkt. no.

1188), the Court will continue its current course of considering

for unsealing the decided motions for Does 1 and 2.         The Court

next will consider for unsealing docket entries 345, 356, 362,

370, 422, 468, and 640, as well as documents relevant to those

motions.

    Additionally, the Court will rule telephonically on the

unsealing of materials relevant to docket entries 231, 279, 315,

320 and 335, with respect to Does 1 and 2, on January 19, 2021,

at 10:00 a.m. EST.    The Court will communicate separately to

counsel information for joining the teleconference.         Members of

the media and the general public may join the teleconference

using the following listen-only line: (888) 363-4734, access

code: 4645450.

    SO ORDERED.
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Dated:    New York, New York
          January 11, 2021

                           __________________________________
                           LORETTA A. PRESKA
                           Senior United States District Judge
